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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                           Plaintiff,           )       8:05CR257
                                                )
      v.                                        )       AMENDED ORDER
                                                )
AMANDA NIELSON,                                 )
                                                )
                           Defendant.           )

      This matter is before the Court on the Plaintiff’s motion to release certain funds

seized from Defendant Amanda Nielson (Filing No. 53). Plaintiff’s counsel represents that

Defendant’s counsel does not object to the motion.

      IT IS ORDERED:

      1.     The Plaintiff’s Consent Motion to Release Money (Filing No. 53) is granted;

             and

      2.     The U.S. Marshal for this district is directed to forward $1,057.00, payable to

             Amanda Nielson, at the time of her sentencing, February 15, 2006.


      DATED this 9th day of February, 2006.


                                                BY THE COURT:

                                                s/Laurie Smith Camp
                                                United States District Judge
